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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS


  DAVID SAMBRANO, individually and on
  behalf of all others similarly situated, et al.,

                          Plaintiffs,

                  v.                                 Civil Action No.: 4:21-cv-01074-P

  UNITED AIRLINES, INC.,

                          Defendant.


                                        PLAINTIFFS’ NOTICE

       Plaintiffs file this notice to clarify the record about United’s motion to compel. See Mot.

to Compel (ECF No. 171). In that motion (at 17), United states that the parties have conferred

about “the relief requested in this Motion” and that “[n]o agreements could be reached[.]” That is

inaccurate. True, the parties participated in a single call last month and exchanged one set of letters

discussing the scope of United’s discovery requests and Plaintiffs’ objections to several such

requests. However, the last communication was Plaintiffs’ May 1 letter, which closed by inviting

United to narrow the scope of its requests. See ECF No. 172 at 288.

       In the two weeks since that letter, United never responded or indicated that it would no

longer confer and would instead file a motion to compel. Considering that the parties had each

compromised on certain requests and objections, Plaintiffs were surprised that United filed a

motion to compel without conferring further and without requesting Plaintiffs’ position on such a

motion. The premature nature of the motion is underscored by United’s statement (at 1) that it is

“further narrowing its requests” “[i]n this motion.” But the parties clearly have not conferred about
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that “further narrowing.” 1 Accordingly, Plaintiffs file this notice to clarify the record about

United’s statement that the parties conferred about the relief United requests in its motion.

May 16, 2023                                          Respectfully submitted,

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  Moreover, had United conferred with Plaintiffs about the requested relief, they would have
clarified for United that its motion sought an order compelling Plaintiffs to respond to several
document requests for which Plaintiffs had already provided responsive records. Accordingly, it
is not accurate that the parties “could [not] reach[]” an “agreement[]” about those requests.
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                                CERTIFICATE OF SERVICE

       On May 16, 2023, I filed the foregoing document with the clerk of court for the United

States District Court, Northern District of Texas. I hereby certify that I have served the document

on all counsel and/or pro se parties of record by a manner authorized by Federal Rule of Civil

Procedure 5(b)(2) (ECF System).



                                                     /s/ Brian J. Field
                                                     Brian J. Field

                                                     Counsel for Plaintiffs
                                                     and the Proposed Class




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